        Case 4:17-cv-03621 Document 22-3 Filed on 09/24/19 in TXSD Page 1 of 4                  AP-77,025
         FILED IN                                                           COURT OF CRIMINAL APPEALS
COURT OF CRIMINAL APPEALS                                                                   AUSTIN, TEXAS'
                                                                         Transmitted 3/16/2015 10:35:28 AM
                                                                           Accepted 3/16/2015 10:50:28 AM
       March 16,2015                                                                         ABEL ACOSTA
                                    No. AP-77,025             ;                                    CLERK

   ABELACOSTA. CLERK                                          i
                                            In the            I
                              Texas Court of Criminal Appeals
                                          At Austin



                                        No. 1384794           ;
                            In the 337th Criminal District Court
                                  Of Harris County, Texas     ;


                           OBEL CRUZ-GARCIA
                                           Appellant          :
                                              V.

                          THE STATE OF TEXAS                  i


                                           Appellee           >


                  STATE'S FINAL MOTION FOR EXTENSION OF TIME
                         IN WHICH TO FILE APPELLATE BRIEF



        TO THE HONORABLE COURT OF CRIMINAL APPEALS:


              THE STATE OF TEXAS, pursuant to Tex. R. App. P. 68.2(c) moves
                                                              i    < •
        for an extension of time within which to file its appellate brief. In support
                                                              i
        of its motion, the State submits the following:
                                                              j
              1. Appellant was charged by indictment with the felony offense of
                 capital murder.                         i

              2. The case was tried before a jury who found appellant guilty as
                 charged.

              3. The jury answered the special issues.        \

              4. The trial court assessed punishment at death, in accordance with
                 Texas Code of Criminal Procedure article 37.071 section 2(g).
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     5. Sentence was entered July 22, 2013.

     6. Direct appeal to this Court is automatic.

     7. Appellant's brief was filed on September 15, 2014, after receiving
        extensions from this Court for a period of 9 months.

      8. After two extensions, the State's appellate brief is due on March
         16,2015.                                      !
                                                       i
                                                       i


     9. The State seeks an additional and final extension of 30 days to file
        its brief, until April 15, 2015.             j

      10. The following facts are relied upon to show good cause for the
          requested extension:

               a. During the previous two months, while reading the
                  record in this case, the undersigned attorney filed 3 other
                  appellate briefs.                  j
                                                       l

               b. Last month, the undersigned attorney presented oral
                    argument to the Fourteenth Court; of Appeals on the co-
                    defendant's case, Rogelio Aviles-Barroso v. State, which
                    involved a unique and complex issue of a voice
                    identification made 20 years after the offense.

               c. Last month, the undersigned attorney wrote an article
                  for The Texas Prosecutor, the official journal of TDCAA,
                  on this Court's recent holding in Butcher v. State.

               d. As part of her duties as an appellate team member to the
                  felony courts, the undersigned attorney completed 50
                    research projects for trial lawyers (assigned to her in the
                    last two months.                   i
                                                       l
                                                       l
               e. As part of her duties as the appellate team member for
                  the Crimes Against Children Division, the undersigned
                  attorney spent considerable time in researching,
                  planning and drafting two criminal statutes as well as
                    bill analysis for this legislative session - online
                    sohcitation of a minor and failure to report child abuse.
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              f. The undersigned prosecutor is i on call to present
                 testimony in Austin this week and later this month for
                 House and Senate hearings on the revisions to the online
                 solicitation statute that was declared unconstitutional
                 by this Court in Ex Parte Lo.       I

              g. Additionally, the undersigned attorney was out of the
                 office last month due to a death in the family.
                                                     i
                                                     !
              h. The Appellate Division of the Harris County's DA's office
                 is currently operating with one less prosecutor, resulting
                 in a higher workload. One colleague was mobilized by
                 the U.S. Navy and his position willinpt be replaced.
                                                     i




              i. The appellate record in the present case is voluminous,
                 consisting of 35 volumes. Appellant brings 12 points of
                 error on appeal. The undersigned attorney has completed
                 review of the record and is now in the process of
                 addressing appellant's complaints.

              j. The undersigned attorney has two other appellate briefs
                 assigned to her that are due this month, Ceasar Russi v.
                 State and Jesse Dains v. State.   I

              k. The undersigned attorney requests a final extension of 30
                 days to complete briefing,on this case and believes it will
                 be completed by April 15, 2015.    l
                                                     i

              1. The State's motion is not for purposes of delay, but so that
                 justice may be done.                !


      WHEREFORE, the State prays that this Court will grant the
requested extension until April 13, 2015.   :

                                     Respectfully submitted,
                                                     i
                                                     i




                                     Jessica Akins j
                                     Assistant District Attorney
                                     State Bar Number: 24029415
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                       CERTIFICATE OF SERVICE


      Pursuant to Tex. R. App. P. 9.5, this certifies that on March 16, 2015, a

copy of the foregoing was sent to the following:


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                                                       i




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